Case 1:17-cr-00213-CRC Document 222 Filed 06/12/19 Page 1 of 2

FILED

JUN 12 2019
UNITED STATES DISTRICT COURT Clerk, U.S. District & Bankruptcy
FOR THE DISTRICT OF COLUMBIA Courts for the District of Columbia

 

UNITED STATES OF AMERICA

Vv. 4

Case No. 17-cr-213 (CRC)
MUSTAFA MUHAMMAD MUFTAH
AL-IMAM,

Defendant.

 

 

RESPONSE TO JURY NOTE OF JUNE 11, 2019 AT 3:18 PM

The Court regrets that, previously, it provided the jury with an incorrect explanation of
what “maliciously” means in the context of Counts Fourteen through Seventeen. For purposes of
those Counts, a person acts maliciously if he acts (i) either intentionally or with willful disregard
of the likelihood that the particular harm will result, and (ii) not mistakenly or carelessly. and
(iii) without legal justification or excuse. This definition replaces the one provided on page 30 of
the jury instructions.

For Counts 14 and 15, the “particular harm” is the damage or destruction of property by
means of a fire or explosive. The defendant (or one whom he aids and abets or his co-
conspirator) therefore must only intend to damage or destroy property by means of a fire or
explosive. That person need not have intended to cause death. However, to find the defendant
guilty of Count 14 or 15, you still must find that the conduct of the defendant (or one whom he
aided and abetted or a co-conspirator) directly or proximately caused the death, as set forth in
Element Five of the instructions for those counts.

For Counts 16 and 17, the “particular harm” is the destruction or injury to a structure,
conveyance, or other real or personal property. The defendant (or one whom he aids and abets or
his co-conspirator) therefore must only intend to destroy or injure such property. That person
need not have intended to destroy or injure a particular type of property, or to have placed lives
in jeopardy. However, to find the defendant guilty of Count 16 or 17, you still must find that he
(or one whom he aided and abetted or a co-conspirator) destroyed or injured a dwelling or placed
the life of any person in jeopardy, as set forth in Element Four of the instructions for those
counts.

Date: June 12, 2019
Case 1:17-cr-00213-CRC Document 222 Filed 06/12/19 Page 2 of 2

FILED

JUN 12 2019
UNITED STATES DISTRICT COURT Clerk, U.S. District & Bankruptcy
FOR THE DISTRICT OF COLUMBIA Courts for the District of Columbia

 

UNITED STATES OF AMERICA

Vv.
Case No. 17-cr-213 (CRC)
MUSTAFA MUHAMMAD MUFTAH
AL-IMAM,

Defendant.

 

 

RESPONSE TO JURY NOTE OF JUNE 11, 2019 AT 3:11 PM

As I instructed you as to Count One, it is against the law to agree with someone to
commit the crime of providing material support or resources while knowing or intending that
they are to be used in preparation for, or in carrying out, at least one of the crimes charged in
Counts Three through Seventeen. To find the defendant guilty of conspiracy, you must find that
he entered into an agreement to commit any one of the offenses listed in Counts Three through
Seventeen, and agreed to provide material support in the form of personnel (one or more persons
including himself) for the preparation for or carrying out of that offense. The objects and
purposes of the conspiracy listed on pages 15 and 16 of the instructions are intended to describe
the scope of the charged conspiracy. However, they are not elements of the offense of
conspiracy itself, and the government is not required to prove that the defendant agreed with
each object and purpose. The Court reminds the jury that to return a guilty verdict on Count
One, you must agree unanimously on which underlying offense the defendant agreed to provide
personnel for the preparation or carrying out of—that is, Count Three, Four, Five, Six, Seven,
Eight, Nine, Ten, Eleven, Twelve, Thirteen, Fourteen, Fifteen, Sixteen, or Seventeen.

Date: June 12, 2019

 
